

Matter of Sir (2025 NY Slip Op 01997)





Matter of Sir


2025 NY Slip Op 01997


Decided on April 3, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 3, 2025

PM-89-25
[*1]In the Matter of Brian T. Sir, an Attorney. (Attorney Registration No. 3032547.)

Calendar Date:March 31, 2025

Before:Egan Jr., J.P., Pritzker, Lynch, Fisher and Mackey, JJ.

Brian T. Sir, Park Ridge, Illinois, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Brian T. Sir was admitted to practice by this Court in 2000 and lists a business address in Park Ridge, Illinois with the Office of Court Administration. Sir now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Sir's application.
Upon reading Sir's affidavit sworn to March 5, 2025 and filed March 12, 2025, and upon reading the March 24, 2025 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Sir is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Pritzker, Lynch, Fisher and Mackey, JJ., concur.
ORDERED that Brian T. Sir's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Brian T. Sir's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Brian T. Sir is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Sir is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Brian T. Sir shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








